                         Case 20-10010-CSS          Doc 18      Filed 01/06/20      Page 1 of 1


                                 IN THE UNITED STATES BANKRUPTCY COURT
                                      FOR THE DISTRICT OF DELAWARE


         In re:                                                     Chapter 11

         BORDEN DAIRY COMPANY, et al.,                              Case No. 20-10010 (CSS)

                                        Debtors.                    (Joint Administration Requested)


                  MOTION AND ORDER FOR ADMISSION PRO HAC VICE OF JEFFREY A. FUISZ

          Pursuant to Local Rule 9010-1 and the below certification, counsel moves the admission pro hac vice of
    Jeffrey A. Fuisz of Arnold & Porter Kaye Scholer LLP to represent the above-captioned debtors and debtors in
    possession in these cases.

                                                         /s/ Elizabeth S. Justison
     Dated: January 6, 2020                              Elizabeth S. Justison (No. 5911)
                                                         Young Conaway Stargatt & Taylor, LLP
                                                         Rodney Square, 1000 North King Street
                                                         Wilmington, DE 19801
                                                         Telephone: (302) 571-6600
                                                         Email: ejustison@ycst.com

                       CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE

          Pursuant to Local Rule 9010-1, I certify that I am eligible for admission to this Court, am admitted,
    practicing, and in good standing as a member of the Bars of the State of New York and the District of Columbia,
    and submit to the disciplinary jurisdiction of this Court for any alleged misconduct which occurs in the
    preparation or course of this action. I also certify that I am generally familiar with this Court’s Local Rules and
    with the Standing Order for District Court Fund revised August 31, 2016. I further certify that the annual fee of
    $25.00 has been paid to the Clerk of the Court for the District Court.

    Dated: January 6, 2020                               /s/ Jeffrey A. Fuisz
                                                         Jeffrey A. Fuisz
                                                         Arnold & Porter Kaye Scholer LLP
                                                         250 West 55th Street
                                                         New York, NY 10019-9710
                                                         Telephone: (212) 836-8000
                                                         Email: jeffrey.fuisz@arnoldporter.com

                                            ORDER GRANTING MOTION

             IT IS HEREBY ORDERED that counsel’s Motion for Admission pro hac vice is granted.




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